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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

HANNA HACKBARDT                               §
                                              §      Case No. 1:17-cv-1113
       Plaintiff                              §
                                              §
-v-                                           §
                                              §      Hon. Janet T. Neff
MIDLAND FUNDING, LLC,                         §
                                              §
                                              §
       Defendant.                             §



                             JOINT NOTICE OF SETTLEMENT

NOW COME Plaintiff, Hanna Hackbardt, and Defendant Midland Funding, LLC, through their

respective Counsel and for their Joint Notice of Settlement, state as follows:



       The parties have agreed to settle this lawsuit and intend to file a Stipulation of Dismissal

with Prejudice no later than June 29, 2018. Please remove all future hearings from the Court’s

Docket, including the early settlement conference set for Friday, June 15 at 2:00 p.m..




Date: 6/13/18                                      Date: 6/13/18

/s/ _Jeffrey D. Mapes_________________             /s/ _Theodore W. Seitz
Jeffrey D. Mapes (P70509)                          Theodore W. Seitz (P60320)
Jeffrey D. Mapes PLC                               Dykema Gossett PLLC
Attorney for Plaintiff                             Attorneys for Defendant
